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13
14   Lawrence N. Cherry and Judy G. Cherry,              CV 15-00236-PHX-GMS
     husband and wife,
15                                                    INDEX OF EXHIBITS TO
                         Plaintiffs,               DEFENDANT’S RESPONSE TO
16                                                PLAINTIFFS’ MOTION IN LIMINE
              v.
17
     United States of America; John Does and
18   Jane Does I through X,
19                       Defendants.
20
21    Ex.   Exhibit Description
22    A     Dr. Reardon’s Deposition Excerpts
23    B     Physician Assistant Steven Carbonniere’s Deposition Excerpts
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